
The Court
(Thruston, J., absent,)
was of opinion that, as the goods were at the risk of the defendants, when put on board the ship at Liverpool, and the defendants had no agent there to accept, or refuse, or even to examine the goods and compare them with the invoice prices, and the defendants had given a general order for such goods, without any express agreement as to the price, the law will only raise an implied promise to pay as. much as the goods were worth at the time and place of shipment. The defendants cpuld not refuse to receive them, and oblige the plaintiff to take them back if they were such .goods as the defendants ordered; and their receiving them here is no evidence of an agreement to pay the invoice price of them. But the receipt of the goods and of the invoice is primá fade evidence that the invoice price is the value, unless the defendants objected to that price in a reasonable time.
Verdict for the plaintiff, deducting 7| per cent, from the invoice price.
